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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

CHRISTOPHER MCCROBIE,

                                                Plaintiff,

v.                                                               1:15-cv-00018-LJV-MJR

PALISADES ACQUISITION XVI, LLC;
HOUSLANGER & ASSOCIATES, PLLC;
TODD HAUSLANGER

                                                Defendants.

________________________________________________

     Affirmation of Timothy Hiller in Further Support of Plaintiff’s Motion to Amend His

                                              Complaint

     1. Plaintiff inadvertently did not include a redlined copy of the proposed Second Amended

        Complaint in its motion to amend. Although the redlined complaint is referred to in

        Plaintiff’s affidavit, it was inadvertently not filed.

     2. A redlined copy is hereby attached to this affirmation.

                                                        /s/ Timothy Hiller, Esq.
                                                        Timothy Hiller, Esq.
                                                        Seth Andrews, Esq.
                                                        Kenneth Hiller, Esq.
                                                        Law Offices of Kenneth Hiller, PLLC
                                                        Attorneys for the Plaintiff
                                                        6000 North Bailey Ave., Suite 1A
                                                        Amherst, NY 14226
                                                        (716) 564-3288
                                                        Email: thiller@kennethhiller.com

                                                        Brian L. Bromberg
                                                        Jonathan R. Miller
                                                        Bromberg Law Office, P.C.
                                                        26 Broadway, 21st Floor
                                                        New York, NY 10004
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                                   (212) 248-7906
